PROB. 12

 

‘R""'?"“’ ease 2:95-cr-20047-sHl\/l Documem 64 Filed 06/03/05 Page 1 of 3 PagelD 29
UNITED STATES DISTRICT COURT ,
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for
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WESTERN DISTRICT OF TENNESSEE
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W.Ci. OF~' `i't`\l1 MZ':`MPHIS
U.S.A. vs. Lester Pa e Docket N .2:95CR200047-01

Petition on Probation and Supervised Release

COMES N()W DAWN L. BROWN . PR()BATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Lester Page, Who was placed on supervision by the I-Ionorable
Samuel H. Mays, Jr. sitting in the Court at Memphis, TN , on the 30th day of Anril .2004. Who fixed the period
of supervision at one§ l 1 year, and imposed the general terms and conditions theretofore adopted by the Court.

(I) The defendant shall participate in a six (6) month intensive in-patient drug abuse treatment program
at the defendant’s own expense

* Effective Date of Supervision: March 26, 2003. (Supervised Release revoked on April 30, 2004.
Defendant given custody sentence of fourteen (14) months, with re-imposed twelve(lZ) month term of
Supervised Release Which began on March 1 l, 2005.)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

PRAYING THAT THE COURT WILL ORDER that Lester Page’s conditions of supervised release be
MODIFIED to include the Special Condition to participate in an intensive outpatient program for the treatment of
drug/alcohol dependency, including drug/alcohol testing to determine if the defendant has reverted to the use of
drugs/alcohol as directed by the Probation Office at the expense of the defendant in lieu of participation in a six (6)
month intensive in-patient drug abuse treatment program.

    
 

ORDER ()F COURT Respectfully,

Considered and ordered this 3 "kday
of 'F“"""`~ , 20_§_!, and ordered filed
and made a part of the records in the above United States Probation Officer

case. ,
JJ{/ML~»MW Place: Memnhis. Tennessee

TUnited States District Judge Date: June l. 2005
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pROB49 Case 2:95-cr-20047-SH|\/| Document 64 Filed 06/03/05 Page 2 of 3 Page|D 30
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United States District Court

Western District Tennessee

Waiver of Hearing to Modify Conditions
of ProbationISupervised Release or Extend Term of Supervision

l have been advised and understand that l am entitled by law to a hearing and assistance of counsel
before any unfavorable change may be made in my Conditions of Probation and Supervised Reiease or my
period of supervision being extended By "assistance of counsel," I understand that | have the right to be
represented at the hearing by counsel of my own choosing if | am able to retain counsel | aiso understand
that l have the right to request the court to appoint counsel to represent me at such a hearing at no cost to
myself if l am not able to retain counsel of my own choosing

l hereby voluntarily waive my statutory right to a hearing and to assistance of counsei. l also agree
to the following modification of my Conditions of Probation and Supervised Reiease or to the proposed
extension of my term of supervision:

The defendant shall participate in an intensive outpatient program for treatment of drug/alcohol dependency,
including dmglalcohol testing to determine if you have reverted to the use of drugs/alcohol at the expense
of the defendant in lieu of your participation in an intensive six (6) month inpatient drug abuse treatment
program

Wltness:

 

U. S. Probation Officer

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:95-CR-20047 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Javier M. Bailey

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Honorable Samuel Mays
US DISTRICT COURT

